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    5   Special Master/ Independent Monitor
    6
    7                        UNITED STATES DISTRICT COURT
    8               FOR THE CENTRAL DISTRICT OF CALIFORNIA
    9
   10                                               CASE NO. CV 85-4544-DMG (AGRx)
        JENNY LISETTE FLORES, et al.,
   11
                           Plaintiffs,              NOTICE OF FILING OF INTERIM
   12                                               REPORT ON COVID-19 BY
                                                    INDEPENDENT MONITOR
   13
                   v.
   14
   15   WILLIAM P. BARR, Attorney
        General of the United States, et al.,
   16
   17                     Defendants.
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                    NOTICE OF FILING OF INTERIM REPORT ON COVID-19 BY INDEPENDENT MONITOR
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    1            On October 5, 2018, the Court ordered the appointment of Andrea
    2   Sheridan Ordin as Special Master/Independent Monitor (“Monitor”) and ordered
    3   the Monitor to file formal Reports and Recommendations to the Court. [Doc #494.]
    4   On May 22, 2020, the Court ordered, among other things:
    5         “Dr. Paul Wise and the Independent Monitor Andrea Ordin shall provide enhanced
    6         monitoring of the FRCs’ care of minors, and shall have the ability to (a) request
              and obtain copies of medical care data and policies; (b) have telephone or
    7         videoconference access to persons most knowledgeable at the FRCs with whom
    8         they can discuss the baseline of custodial medical care, health care protocols, and
              COVID-19 prevention practices; (c) consider protocols for identifying minors who
    9         have serious medical conditions that may make them more vulnerable to COVID-
   10         19; (d) interview minors with serious medical conditions or, as appropriate, their
              guardians; and (e) make such recommendations for remedial action that they deem
   11         appropriate.”
   12
              In accordance with the Court’s Orders, the Monitor submits the attached
   13
        Interim Report on Covid-19 by Independent Monitor.
   14
   15
   16
        DATED:       June 25, 2020                 Respectfully submitted,
   17
   18                                              Andrea Sheridan Ordin
   19                                              STRUMWASSER & WOOCHER LLP
   20
   21                                              By      /s/ Andrea Sheridan Ordin
                                                           Andrea Sheridan Ordin
   22
   23                                              Special Master / Independent Monitor
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    1                                 CERTIFICATE OF SERVICE
    2                              Case No. CV 85-4544-DMG (AGRx)
    3
               I am a citizen of the United States. My business address is 10940 Wilshire
    4
        Boulevard, Suite 2000, Los Angeles, California 90024. I am over the age of 18 years,
    5
        and not a party to the within action.
    6
    7          I hereby certify that on June 25, 2020, I electronically filed the following
    8   documents with the Clerk of the Court for the United States District Court, Central
    9   District of California by using the CM/ECF system:
   10
         NOTICE OF FILING OF INTERIM REPORT ON COVID-19 BY
   11    INDEPENDENT MONITOR

   12          I certify that all participants in the case are registered CM/ECF users and that
   13   service will be accomplished by the CM/ECF system.
   14
               I declare under penalty of perjury under the laws of the United States the
   15
        foregoing is true and correct. Executed on June 25, 2020, at Los Angeles, California.
   16
   17
   18                                                            /s/ Jeff Thomson
   19                                                               Jeff Thomson
   20
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                       In the United States District Court

                Central District of California – Western Division



                  JENNY LISETTE FLORES, et al., Plaintiffs,

                                         v.

                     WILLIAM P. BARR, et al., Defendants.



                       Case No. CV 85-4544-DMG (AGRx)

                Hon. Dolly M. Gee, United States District Judge



                         Interim Report on Covid-19

                           by Independent Monitor




                            Andrea Sheridan Ordin
                      Special Master/Independent Monitor
                         Strumwasser & Woocher LLP
                      1094 Wilshire Boulevard, Suite 2000
                         Los Angeles, California 90024
                                (310) 576-1233
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 INTRODUCTION

         On May 22, 2020, this Court ordered (Doc. 799), among other things,
 that:
         Dr. Paul Wise and the Independent Monitor Andrea Ordin shall
         provide enhanced monitoring of the FRCs’ care of minors, and
         shall have the ability to (a) request and obtain copies of medical
         care data and policies; (b) have telephone or videoconference
         access to persons most knowledgeable at the FRCs with whom
         they can discuss the baseline of custodial medical care, health
         care protocols, and COVID-19 prevention practices; (c) consider
         protocols for identifying minors who have serious medical
         conditions that may make them more vulnerable to COVID-19;
         (d) interview minors with serious medical conditions or, as
         appropriate,    their    guardians;    and    (e)   make     such
         recommendations for remedial action that they deem
         appropriate.

 REVIEW OF MONITORING

         After review of the Court’s Order and questions raised, the
 Independent Monitor, working with Dr. Wise, proceeded to determine the
 baseline of custodial medical care, health care protocols, and COVID-19
 prevention practices. Dr. Wise had prepared a note on May 21, 2020
 reviewing the challenge ICE faces in protecting detained minors and their
 families from Covid-19. The CDC’s “Interim Guidance on Management of
 Coronavirus Disease 2019 (COVID-19) in Correctional and Detention
 Facilities” begins with an articulation of why these kinds of facilities are at
 higher risk. In summary:
         (1)   ICE facilities convey an inherently greater risk of COVID-19
               than most settings after general release;

         (2)   Even good compliance with CDC guidance will not likely be
               sufficient to fully protect minors and their families from Covid-19
               while in ICE detention;


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       (3)    The risk of COVID-19 in ICE facilities will likely reflect the
              prevalence of COVID-19 in surrounding communities, as facility
              staff will likely be a primary mechanism of virus introduction. Of
              special concern is the spread of COVID-19 from one ICE facility
              to another via the interchange of ICE staff, contracted workers,
              or leadership between facilities;

       (4)    The implementation of protective measures, including screening,
              the use of masks, social distancing, and isolation and/or cohorting
              of detainees should be assessed;

       (5)    The criteria and procedures utilized to assess elevated medical
              risk for Covid-19 among minors require urgent review.

       The Monitor then examined the Report filed by ICE Juvenile
 Coordinator Deane Dougherty on June 10, 2020 (Doc. 813), which, pursuant
 to this Court’s April 24, 2020 Order (Doc. 784), focused on ICE’s response to
 the Covid-19 pandemic.
       Subsequently, the Independent Monitor received a request for
 enhanced monitoring and investigation into medical care at ICE Family
 Residential Centers (FRCs). This request, made by Counsel from Proyecto
 Dilley, RAICES, and ALDEA, included declarations from Class Members and
 medical professionals alleging failures in ICE’s health care system.
 Declarants asserted that ICE had not implemented adequate measures to
 protect detainees from Covid-19, especially with regard to minors at elevated
 risk due to pre-existing medical conditions.
       On June 17, 2020, Plaintiffs filed a Response to the ICE Juvenile
 Coordinator Report (Doc. 824). A hearing was scheduled for June 19, 2020
 and later postponed to June 26, 2020 at 11:00 a.m. Plaintiffs’ response raised
 further concerns over conditions at FRCs in light of the Covid-19 crisis.




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        The Independent Monitor and Dr. Wise’s continued monitoring efforts
 are set forth below in a note on June 25, 2020, reviewing the central medical
 considerations regarding the risk of infection by the SARS-CoV-2, the virus
 that causes the disease, Covid-19, among minors being held in ICE
 facilities:
                              Current Assessment

        The assessment of the preventive and medical provisions addressing
 the threat of Covid-19 in two ICE facilities was conducted during the period
 May 29, 2020 through June 24, 2020. No site visits were possible due to
 Covid-19 travel restrictions and facility precautions. Elements of the
 assessment that was conducted included:

        (1)    Discussions with senior officials of the ICE Health Services
               Corps;

        (2)    Discussions with ICE supervisory officials for the South Texas
               Family Residential Center (Dilley) and the Karnes County
               Residential Center (Karnes);

        (3)    Discussions with Health Service Corps officials and pediatricians
               responsible for medical care in the Dilley and Karnes facilities;

        (4)    Discussions with 9 detained women with children, including
               interviews with 4 of the children;

        (5)    Review of video tapes and still photographs of the common living
               areas, including play areas and cafeterias, and temperature
               screening of staff upon entry into the facilities.
        These discussions and the review of the provided materials lead to
 several findings:

        (1)    Medical system for children. While there are isolated
               complaints that merit further investigation, the descriptions of
               the medical system for children in these two facilities seems
               adequate. Medical personnel are present in the facility at all
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              times and advanced practice clinicians (physician assistants or
              nurse practitioners) during daytime hours. Pediatricians hold
              clinical sessions several days each week and are available on
              call. Acute or complicated patient needs are addressed through
              referral to the children’s hospital in San Antonio or a local health
              facility. The quality of these services, however, could not be
              addressed given the time and procedural constraints of this
              assessment, and will be addressed in a future report.

       (2)    Covid-19 Provisions. There are several components of the CDC
              Covid-19 recommendations that are of special concern.

              (a)   Screening of staff upon entry to the
                    facilities. Screening was reported to include a review of
                    symptoms and a temperature check. Still photographs of
                    these screenings were provided and appeared appropriate.

              (b)   Assessment of elevated medical risk. Discussions with
                    the medical staff and pediatricians serving the facilities
                    suggested that significant medical risk would be identified
                    if such conditions existed in detained children. The
                    assessment of elevated risk is based on the interpretation
                    of CDC guidance and the clinical judgment of pediatric
                    staff. Provided data suggested that when significant
                    chronic illness was identified, minors and family were
                    released. The medical staff reported that any condition
                    that would imply elevated risk are reported to ICE
                    officials.

              (c)   Cohorting of new entrants. Symptom and temperature
                    screening was also reportedly conducted on all new
                    detainees upon entry to the facility. In addition, all newly
                    entered families are held in a separate area of the facility
                    for 14 days and monitored for the appearance of any
                    worrisome symptoms.

              (d)   Masking. The stated policy is for all staff and detainees to
                    wear a mask at all times (except while eating). However,
                    the provided video for Dilley revealed only partial
                    compliance with masking requirements among


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                     staff. Interviews with the detained women confirmed that
                     masking among staff is only intermittently enforced.

              (e)    Distancing. The provided videos showed appropriate
                     distancing among staff and detainees. However, all the
                     detained women reported that distancing was not practiced
                     in the common dining room. Six to 8 persons of different
                     families were seated at each table without distancing
                     during meals.

              (f)    Covid-19 cases in surrounding communities. As noted
                     in the prior note, the risk to these facilities is largely
                     dependent upon the prevalence of Covid-19 in surrounding
                     communities, as facility staff will likely be a primary
                     mechanism of virus introduction. Indeed, the Independent
                     Monitor has learned of four confirmed cases of Covid-19 at
                     the FRC at Dilley: two STFRC contract staff, who had
                     contact with residents, and two deportation officers, who
                     had limited contact with staff. The recent trends in this
                     regard are worrisome (data from Johns Hopkins
                     Coronavirus Resource Center, available at URL:
                     https://coronavirus.jhu.edu/us-map)


        Frio County (Dilley) Confirmed Covid-19 Cases (as of 6/23)




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           Karnes County Confirmed Covid-19 Cases (as of 6/23)




        In sum, while the general medical system at the facilities appears to be
  appropriate for the care of children in custody, the risk of Covid-19 to minors
  and their families in ICE custody continues to grow. The lack of consistent
  compliance with recommended masking among some staff and distancing
  requirements in common eating areas elevate the risk that the virus once
  introduced into the facility may not be well contained. This finding is of
  particular concern given the recent increase in Covid-19 cases in the
  surrounding communities.

  SUBSEQUENT DEVELOPMENTS
        At 9 a.m. on Thursday, June 25, 2020, the Independent Monitor
  learned of multiple Covid-19 infections at the Karnes facility from Juvenile
  Coordinator Deane Dougherty. “Saturation” testing of all Karnes residents
  commenced on June 22, and medical staff notified ERO San Antonio that 11
  residents tested positive for Covid-19. All detainees are currently stable,
  asymptomatic, and remain housed in medical isolation rooms, where GEO
  Medical staff continues to monitor for any symptoms.
         Also on Thursday, June 25, the Independent Monitor received
  confirmation of the four non-resident Covid-19 cases at Dilley. (See Letter to


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  Deane Dougherty from Richard Hunt, dated June 25, 2020, attached as
  Exhibit A.) However, because testing at Dilley did not start until June 23,
  results will not be available until Friday, June 26 or Saturday, June 27.

  CONCLUSION

        Because of the news received today regarding the multiple cases of
  Covid-19, this Interim Report focuses on the reports, conditions, and
  procedures related to preventing Covid-19 infections in the FRCs. The
  Independent Monitor proposes to file a supplemental Interim Report on
  additional topics of enhanced monitoring, including quality of medical care,
  and issues of hygiene and nutrition.




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                           EXHIBIT A

     Letter to Deane Dougherty
      from Richard Hunt, dated
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                         IN THE UNITED STATES DISTRICT COURT
                              FOR DISTRICT OF COLUMBIA


      O.M.G., et al.;                                        Case No. 1:20-cv 00786-
                                                             JEB
                           Petitioners,

      v.                                                     NOTICE OF COVID-19 POSITIVE
                                                             CASES
      Chad WOLF, Acting Secretary of the U.S.
      Department of Homeland Security, et al.,
                                                             The Honorable James E. Boasberg
                           Respondents.




             Pursuant to the June 25, 2020 minute order, Respondents hereby notify the Court that

     several additional employees in the Family Residential Centers have tested positive for

     COVID-19. On June 19, 2020, Immigration and Customs Enforcement (ICE) informed the

     Department of Justice (DOJ) of these new positive cases. The declaration of Mellissa B.

     Harper, with details about these new cases, testing, and risk mitigation steps in process, is

     attached hereto as Exhibit 1.

             I. Karnes County Family Residential Center (“Karnes FRC”)

             In addition to the transportation officer who tested positive at Karnes FRC, ECF No.

     70, three additional employees, a nurse, an intake officer, and a compliance standard officer,

     have also tested positive. These individuals are in quarantine. See Ex. 1 at ¶¶ 5-6.

             II. South Texas Family Residential Center (“Dilley FRC”)

             There are two more confirmed cases among employees, a compliance officer and a

     nurse. Ex. 1 at ¶¶ 7-8. Both employees are symptomatic and in quarantine. Id.
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           III. Berks County Family Residential Center (“Berks FRC”)

           Currently, there are no reported cases of staff or residents at the Berks FRC. Ex. 1 ¶

     9.

           Respondents will appraise the Court of any further developments as it receives them

     from ICE.

           RESPECTFULLY SUBMITTED this 29th day of June 2020.

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                                                  Office of Immigration Litigation
                                                  District Court Section
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                                                  s/ Vanessa Molina
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                                                  Washington, DC 20044
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                                                         Matthew.Seamon2@usdoj.gov

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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  O.M.G., et. al.,                         )
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        Petitioners,                       )
                                           )
  v.                                       )           Case No.: 1:20-cv-00786-JEB
                                           )
  CHAD WOLF, Acting Secretary of the U.S. )
  Department of Homeland Security, et al., )
                                           )
        Respondents.                       )
                                           )

               SUPPLEMENTAL DECLARATION OF MELLISSA B. HARPER

         I, Mellissa B. Harper, hereby make the following declaration with respect to the above-

  captioned matter:

     1. I am the Chief of the Juvenile and Family Residential Management Unit (JFRMU),

         Enforcement and Removal Operations (ERO), U.S. Immigration and Customs

         Enforcement (ICE), Department of Homeland Security (DHS). JFRMU addresses issues

         confronting unaccompanied alien children (UAC) and alien family groups who come into

         ERO custody, including those detained at a Family Residential Center (FRC). JFRMU

         develops policies sensitive to the various vulnerabilities and needs of these populations.

         JFRMU trains, monitors, and advises Field Office Juvenile Coordinators (FOJCs). These

         officers serve as subject matter experts on juvenile and family matters in their respective

         field offices. As JFRMU advises FOJCs, they in turn, advise their fellow officers who

         encounter minors during enforcement activities. JFRMU oversees and monitors the

         implementation of nationwide court orders that impact this population, including those in

         the present case.




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     2. This declaration is to supplement my prior declarations, dated April 6, April 13, April 22,

        April 27, May 15, May 20, June 19, and June 26 submitted in the instant case.

     3. The statements contained in this declaration are based on my personal knowledge and

        information provided to me in my official capacity.

     4. As previously reported as of June 25, 2020, all three FRCs have instituted saturation

        testing. ICE has received further results as detailed below. In addition, other cases have

        emerged amongst the staff at two of the three facilities, the Karnes Family Residential

        Center (Karnes) and the South Texas Family Residential Center at Dilley (Dilley).

     5. With respect to the staff testing conducted at Karnes, 342 staff have been tested thus far.

        Three GEO employees have tested positive, although there are still test results

        outstanding. As previously reported to the Court, one GEO transportation officer was

        tested on June 25, 2020 and positive results were received on June 26, 2020. She is

        asymptomatic and was sent home on a 14-day self-quarantine on June 26. The

        transportation officer had been in contact with 15 GEO employees who tested negative,

        and all are asymptomatic. All are self-observing for any symptoms for the next 14 days

        and are required to wear a mask and have their temperature taken twice daily while

        working. The transportation employee had no contact with any residents. The other two

        GEO employees who tested positive were a nurse and an intake officer who were tested

        on June 23, 2020. Their results were received on June 29, 2020. They were last present at

        work on June 28, 2020. Contact tracing and video review of their activities is currently

        being compiled.

     6. Separate from the saturation testing, a JFRMU Compliance Standards Officer (CSO) at

        Karnes was exposed to another person with COVID-19. Although asymptomatic, he was



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        tested on June 24, 2020, with positive results. He has not been present at an ICE facility

        since June 22, 2020. He is currently in a 14-day self-quarantine. The CSO’s

        responsibility at an FRC is to ensure ICE’s detention standards are met; therefore, while

        he was on site at the facility, he wore a mask and maintained social distancing at all

        times.

     7. A CSO at Dilley, tested positive for COVID-19 on June 22, 2020. On June 18, 2020, he

        began experiencing symptoms of COVID-19. He was tested on June 22, 2020 and

        received his positive test results on June 23, 2020. He has been in self-quarantine since

        that time. The last day that the CSO was at the facility was June 17, 2020. Video review

        of his activities was conducted and confirmed he wore a mask at all times while inside

        the facility.

     8. A Registered Nurse at Dilley excused herself from work after a family member was

        placed in quarantine for COVID-19. The nurse became symptomatic on June 23, 2020

        and was tested on June 24, 2020. She received a positive test result on June 24, 2020, and

        she notified the facility. Her last day onsite was June 19, 2020 on a 4:00 p.m. to 2:30 a.m.

        shift.

     9. Currently, there are no reported positive COVID-19 cases of staff or residents at Berks

        County Family Residential Center.

     10. This declaration is based upon my personal and professional knowledge, information

        obtained from other individuals employed by ICE, and information obtained from various

        records and systems maintained by DHS. I provide this declaration based on the best of

        my knowledge, information, belief, and reasonable inquiry for the above-captioned case.




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  Signed on this 29th day of June 2020.

  ____________________________
  Mellissa B. Harper
  Unit Chief, Juvenile and Family Residential Management Unit
  ICE Enforcement and Removal Operations




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                          IN THE UNITED STATES DISTRICT COURT
                               FOR DISTRICT OF COLUMBIA


      O.M.G., et al.;                                          Case No. 1:20-cv 00786-
                                                               JEB
                           Petitioners,

      v.                                                       NOTICE OF COVID-19 POSITIVE
                                                               CASES
      Chad WOLF, Acting Secretary of the U.S.
      Department of Homeland Security, et al.,
                                                               The Honorable James E. Boasberg
                           Respondents.




             Pursuant to the June 25, 2020 minute order, Respondents hereby notify the Court that

     several additional employees in the Family Residential Centers (“FRCs”) have tested positive

     for COVID-19. On June 30, 2020, Immigration and Customs Enforcement (“ICE”) informed

     the Department of Justice (“DOJ”) of these new positive cases, provided further details about

     the circumstances described in June 29, 2020 notice, ECF No.73, and an updated census to

     include releases and intakes. The declaration of Mellissa B. Harper, with details about these

     new cases, testing, the risk mitigation steps in process, and the census, is attached hereto as

     Exhibit 1.

             I. Karnes County Family Residential Center (“Karnes FRC”)

             In addition to the four employees who have previously tested positive, two additional

     employee, an intake officer and a nurse, tested positive on June 29, 2020. See Ex. 1 at ¶ 8(b)-

     (c). Both individuals were tested as part of the saturation testing at Karnes. Id.

             Between June 25, 2020 and June 30, 2020, four individuals, two adults and two minors,

     were released from Karnes. Id. ¶ 6(a). During the same period there were 38 new intakes, 22

     adults and 16 minors. Id. ¶ 5(a). All 38 new intakes were tested for COVID-19, and are pending
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     results. Each family unit was assigned to their own room in a cohort section of the facility, and

     will continue to reside in their individual room. Id. ¶ 5(a)(i).

             As of June 30, 2020, there were 107 individuals, comprised of 60 adults and 47 minors.

     Id. at ¶ 4(a).

             II. South Texas Family Residential Center (“Dilley FRC”)

             There are two more confirmed cases among employees, a resident counselor and

     resident supervisor. Ex. 1 at ¶¶ 10-11.

             Between June 25, 2020 and June 30, 2020, there were a total of three new intakes, two

     adults and one minor, at Dilley. Id. at ¶ 5(b). They are housed in separate dorms without contact

     with other families. The family unit is pending results for COVID-19, and there is plan to treat

     should results return positive. Id. at ¶ 5(b)(i).

             As of June 30, 2020, there were 157 individuals, comprised of 70 adults and 87 minors.

     Id. at ¶ 4(b).

             III. Berks County Family Residential Center (“Berks FRC”)

             Currently, there are no reported cases of staff or residents at the Berks FRC. Ex. 1 ¶

     12. As of June 30, 2020, there were 13 individuals, comprised of 8 adults and 5 minors. Id. at

     ¶ 4(c). Between June 25, 2020 and June 30, 2020, there were no new intakes at the Berks. Id.

     at ¶ 5(c).




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           Respondents will appraise the Court of any further developments as it receives them

     from ICE.

           RESPECTFULLY SUBMITTED this 1st day of July 2020.

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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  O.M.G., et. al.,                         )
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        Petitioners,                       )
                                           )
  v.                                       )           Case No.: 1:20-cv-00786-JEB
                                           )
  CHAD WOLF, Acting Secretary of the U.S. )
  Department of Homeland Security, et al., )
                                           )
        Respondents.                       )
                                           )

               SUPPLEMENTAL DECLARATION OF MELLISSA B. HARPER

         I, Mellissa B. Harper, hereby make the following declaration with respect to the above-

  captioned matter:

         1. I am the Chief of the Juvenile and Family Residential Management Unit (JFRMU),

             Enforcement and Removal Operations (ERO), U.S. Immigration and Customs

             Enforcement (ICE), Department of Homeland Security (DHS). JFRMU addresses

             issues confronting unaccompanied alien children (UAC) and alien family groups who

             come into ERO custody, including those detained at a Family Residential Center

             (FRC). JFRMU develops policies sensitive to the various vulnerabilities and needs of

             these populations. JFRMU trains, monitors, and advises Field Office Juvenile

             Coordinators (FOJCs). These officers serve as subject matter experts on juvenile and

             family matters in their respective field offices. As JFRMU advises FOJCs, they in

             turn, advise their fellow officers who encounter minors during enforcement activities.

             JFRMU oversees and monitors the implementation of nationwide court orders that

             impact this population, including those in the present case.




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        2. This declaration is to supplement my prior declarations, dated April 6, April 13, April

           22, April 27, May 15, May 20, June 19, June 26, and June 29 submitted in the instant

           case.

        3. The statements contained in this declaration are based on my personal knowledge and

           information provided to me in my official capacity.

        4. As of June 30, 2020, the number of individuals housed at the FRCs are as follows:

               a. At Karnes, there were a total of 107 individuals, comprised of 60 adults and

                   47 juveniles.

               b. At Dilley, there were a total of 157 individuals, comprised of 70 adults and 87

                   juveniles.

               c. At Berks, there were a total of 13 individuals, comprised of 8 adults and 5

                   juveniles.

        5. From June 25, 2020, through June 30, 2020, there were 41 total new intakes into ICE

           FRCs. The breakdown of these new intakes are as follows:

               a. At Karnes, there were a total of 38 intakes during this time period, comprised

                   of 22 adults and 16 juveniles.

                       i. All 38 new intakes were tested for COVID-19 and are pending results.

                          Each of these family units are cohorted in their own room in one of

                          two cohort sections of the facility, pending results. Each family unit

                          will continue to remain in their own room as the current population at

                          the facility remains well below capacity.

               b. At Dilley, there were a total of 3 intakes during this time period, comprised of

                   2 adults and 1 juvenile.



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                               i. All 3 new intakes have been tested for COVID-19 and are pending

                                    results. They are housed in separate dorms for the 14-day observation

                                    period and do not have contact with other families to prevent potential

                                    cross-contamination. Should the test results return positive, the family

                                    unit will be moved to the medical housing unit and will be housed in a

                                    negative pressure room and treated accordingly. Should the results

                                    return negative, the family will complete the 14-day observation

                                    period prior to being transferred to general population.

                      c. At Berks, there were no intakes during this time period.

             6. From June 25, 2020, through June 30, 2020, ICE released 1 6 total individuals from its

                 FRCs. The breakdown of these releases are as follows:

                      a. At Karnes, there were a total of 4 individuals released from custody during

                          this time period, comprised of 2 adults and 2 juveniles.

                      b. At Dilley, there were a total of 2 individuals released from custody during this

                          time period, comprised of 1 adult and 1 juvenile.

                      c. At Berks, there were no individuals released from custody during this time

                          period.

             7. As previously reported as of June 25, 2020, all three FRCs have instituted saturation

                 testing of the residents housed there at the time of testing. In addition, other positive

                 COVID-19 cases have emerged amongst the staff at two of the facilities, the Karnes

                 Family Residential Center (Karnes) and the South Texas Family Residential Center at

                 Dilley (STFRC).



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      Released into the U.S. interior. The source for this is data pulled from ENFORCE on 6/30/2020.

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        8. The last update notified the court that three GEO employees—at transportation

           officer, a nurse and an intake officer—tested positive for COVID-19. Additional

           details with respect to those individuals are now available.

               a. On June 26, 2020, GEO Transportation Officer (TO) at the Karnes County

                  Family Residential Center (KCFRC), reported receiving a positive result for

                  COVID19 testing. The COVID19 test was conducted on June 25, 2020, as

                  part of saturation testing at KCFRC. Upon notification of the positive result,

                  GEO conducted in depth contract tracing through employee interviews and

                  extensive review of closed-circuit video footage of the employee’s movement

                  throughout the residential center. Contact tracing revealed; The employee’s

                  last day at the facility was June 26, 2020. The employee had no contact with

                  residents at the facility. Any staff members identified through contact tracing,

                  were notified and are self-observing for any symptoms for the next 14 days

                  and are required to wear a mask and have their temperature taken twice daily

                  while working. No residents have tested positive as a result of exposure in this

                  case. The TO role is to attend to the needs of the residents at the

                  KCFRC. The TO is responsible for securely transporting residents between

                  destinations and ensuring that the vehicles used for transportation activities

                  are safe and properly maintained. Through contact investigations, it was

                  determined that on June 20, 2020, the four positive GEO employees were all

                  together outside the facility on personal time. They admitted to congregating

                  outside the facility without PPE. It was also determined that the nurses

                  carpool together and two employees cohabitate.



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              b. On June 29, 2020, GEO Intake Officer (IO) at KCFRC, reported receiving a

                 positive result for COVID19 testing. The COVID19 test was conducted on

                 June 23, 2020, as part of saturation testing at KCFRC. Upon notification of

                 the positive result, GEO conducted in depth contract tracing through

                 employee interviews and extensive review of closed-circuit video footage of

                 the employee’s movement throughout the residential center. Contact tracing

                 revealed; The employee’s last day at the facility was June 28, 2020. The

                 employee had no contact with residents at the facility. Any staff members

                 identified through contact tracing, were notified and are self-observing for any

                 symptoms for the next 14 days and are required to wear a mask and have their

                 temperature taken twice daily while working. No residents have tested

                 positive as a result of exposure in this case. The IO role is to attend to the

                 needs of the residents entering and leaving KCFRC. The IO assists residents

                 with their property, documents, monies, health, safety, and well-being, as well

                 as ensures safety and supervision throughout the residential center. Through

                 contact investigations, it was determined that on June 20, 2020, the four

                 positive GEO employees were all together outside the facility on personal

                 time. They admitted to congregating outside the facility without PPE. It was

                 also determined that the nurses carpool together and two employees

                 cohabitate.

              c. On June 29, 2020, GEO Nurse (Nurse One) at KCFRC, reported receiving a

                 positive result for COVID19 testing. The COVID19 test was conducted on

                 June 23, 2020, as part of saturation testing at KCFRC. Upon notification of



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                  the positive result, GEO conducted in depth contract tracing through

                  employee interviews and extensive review of closed-circuit video footage of

                  the employee’s movement throughout the residential center. Contact tracing

                  revealed; The employee’s last day at the facility was June 29, 2020. The

                  employee’s last contact with residents at the facility was June 29, 2020. The

                  thirty-seven residents identified as having contact with Nurse One were

                  identified and notified of the exposure. Eleven of these residents were those

                  that were in isolation for positive results. No residents have tested positive as

                  a result of exposure in this case. The Nurse’s role under the direction of an

                  RN is to develop nursing care plans for residents, performs physical

                  assessments and medical history, assists physicians with patients screenings,

                  ensures prescribed medications are administered, makes observation rounds

                  on patients, and records progress notes, attend to the needs of the residents at

                  the KCFRC. The Nurse assists residents in their medical rooms when housed

                  in isolation and treats those residents who seek medical assessment at the

                  medical clinic, as well as, ensures safety and supervision throughout the

                  medical facility. Through contact investigations, it was determined that on

                  June 20, 2020, the four positive GEO employees were all together outside the

                  facility on personal time. They admitted to congregating outside the facility

                  without PPE. It was also determined that the nurses carpool together and two

                  employees cohabitate.

        9. There is one additional employee at KCFRC who has tested positive. On June 29,

           2020, GEO Nurse (Nurse Two) at KCFRC, reported receiving a positive result for



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           COVID19 testing. The COVID19 test was conducted on June 29, 2020, at her PCP

           office in preparation for a medical procedure. Nurse Two received a COVID19 test

           on June 23, 2020, as part of saturation testing at KCFRC, but that test result was

           negative. Upon notification of the positive result, GEO conducted in depth contract

           tracing through employee interviews and extensive review of closed-circuit video

           footage of the employee’s movement throughout the residential center. Contact

           tracing revealed; The employee’s last day at the facility was June 29, 2020. The

           employee’s last contact with residents at the facility was June 29, 2020. The thirty-

           seven residents identified as having contact with Nurse Two were identified and

           notified of the possible exposure. Eleven of these residents were those that were in

           isolation for positive results. No residents have tested positive as a result of exposure

           in this case. The Nurse’s role under the direction of an RN is to develop nursing care

           plans for residents, performs physical assessments and medical history, assists

           physicians with patients screenings, ensures prescribed medications are administered,

           makes observation rounds on patients, and records progress notes, attend to the needs

           of the residents at the KCFRC. The Nurse assists residents in their medical rooms

           when housed in isolation and treats those residents who seek medical assessment at

           the medical clinic, as well as, ensures safety and supervision throughout the medical

           facility. Through contact investigations, it was determined that on June 20, 2020, the

           four positive GEO employees were all together outside the facility on personal

           time. They admitted to congregating outside the facility without PPE. It was also

           determined that the nurses carpool together and two employees cohabitate.




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        10. On June 28, 2020, Core Civic Resident Counselor (RC) at the STFRC, reported

           receiving a positive result for COVID-19 testing. The COVID-19 test was conducted

           on June 27, 2020, after the employee began experiencing symptoms of COVID-

           19. Upon notification of the positive result, Core Civic conducted in depth contract

           tracing through employee interviews and extensive review of closed-circuit video

           footage of the employee’s movement throughout the residential center. Contact

           tracing revealed that the employee’s last day at the facility was June 25, 2020, in

           which the employee left after three hours of work. The employee did not have

           contact with residents at the facility within five days prior to experiencing

           symptoms. Additionally, video review revealed the employee was wearing their mask

           and did not have close contact with other staff. No residents or employees have

           tested positive as a result of exposure in this case. The RC role as trained member of

           the Unit Management Team, who is responsible for resolving daily resident issues

           before they become significant matters, incidents or grievances.

        11. On June 29, 2020, Core Civic Resident Supervisor (RS) at the STFRC, reported

           receiving a positive result for COVID-19 testing. The COVID-19 test was conducted

           on June 28, 2020, after the employee began experiencing symptoms of COVID-

           19. Upon notification of the positive result, Core Civic conducted in depth contract

           tracing through employee interviews and extensive review of closed-circuit video

           footage of the employee’s movement throughout the residential center. Contact

           tracing revealed that the employee’s last day at the facility was June 16, 2020, and the

           employee had taken Personal Time Off (PTO) in conjunction with his/her assigned

           days off duty. The employee did not have contact with residents or staff at the



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             facility within five days prior to testing. No residents or employees have tested

             positive as a result of exposure in this case. The RS role is to attend to the needs of

             the residents at the STFRC. The RS assists residents in their dorms, dayrooms and

             recreation areas, as well as ensures safety and supervision throughout the residential

             center.

         12. Currently, there are no reported positive COVID-19 cases of staff or residents at

             Berks County Family Residential Center.

         13. This declaration is based upon my personal and professional knowledge, information

             obtained from other individuals employed by ICE, and information obtained from

             various records and systems maintained by DHS. I provide this declaration based on

             the best of my knowledge, information, belief, and reasonable inquiry for the above-

             captioned case.




  Signed on this 30th day of June 2020.

  ____________________________
  Mellissa B. Harper
  Unit Chief, Juvenile and Family Residential Management Unit
  ICE Enforcement and Removal Operations




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